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M. Gregory Balko, M.D.
Medical Legal Consultants, Inc.

21 West Henry Clay Avenue
Fort Wright, KY 41011
Phone 859-341-0003
Fax 859-344-0964

March 20, 2014

Tamela J. White

Farrell, Farrell & Farrell, PLLb
914 Fifth Avenue
Huntington, WV 25772-6457

Dear Ms. White:

At your request, | reviewed the following materials from the Pymale v. Miller
case.

1. The Complaint,

2. 4 glass tissue slides — St. Mary’s Medical Center - SSP11-09333 (2 recuts) and
Dermatopathology Labs of Central States - D12-50459 (2 slides),

3. 2 corresponding pathology reports,

4. Plaintiff's Expert Witness Disclosure.

1am a licensed physician certified by the American Board of Pathology in anatomic
pathology, neuropathology and forensic pathology.

The contents of this report are based upon extensive education, training and experience
in anatomic, forensic and neuropathology. The opinions are expressed with reasonable
medical probability.

Review of the 2 glass tissue slides, D12-50459, reveals the presence of a melanoma with
involvement of the tissue margins. Examination of the recut glass tissue slides, SSP11-
09333, discloses decalcified fragments of osteoporotic, focally fibrotic, bone and scant
associated soft tissue. Processing artifact is present. Tumor is not identified.
Photomicrographs of both specimens have been prepared.

These opinions are based on the materials and the information available to me at the
time of this report. | have requested and intend to review the original tissue slides upon
those being made available through the hospital. | reserve the right to change, expand
or amend this report if additional evidence is submitted for my consideration.

Sincerely, EXHIBIT

of

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VW | Arsgry fol Mp:

M. Gregory Balko, M. D.
Case 3:13-cv-14953 Document 32-1 Filed 04/08/14 Page 3 of 7 PagelD #: 129

Matt Lindsay

From: Samantha Thomas-Bush <STB@farrell3.com>
Sent: Monday, March 17, 2014 11:44 AM

To: Matt Lindsay

Ce: Tammy J. White; Susan McGlone; Anne L. Honaker
Subject: Plymale matter

Matt:

Your assistant advised you are in trial. | left you a voicemail just now about two issues:

1) The pathology slides at St. Mary’s — as you know, we requested recut slides. Our expert witness would like to
view the original slides. We would like to take personal possession of the slides, take them to our expert, and
return them to the hospital within a 24-48 hour period. Please let me know if this is agreeable to you.

2) The supplementation on Dr. Singer — his CV and attachments do not list the last 4 years of his testimony. The
most recent date on there is from 2010, and as you know, there are more recent dates during which he has
provided testimony.

Samantha L. Thomas-Bush, Esq.
Farrell, White & Legg PLLC

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ATTORNEYS & COUNSELLORS

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From: Matt Lindsay
Sent: Tuesday, April 08, 2014 1:46 PM
To: ‘Anne L. Honaker’
Ce: Tammy J. White; Samantha Thomas-Bush; Susan McGlone; Valerie Scheidler
Subject: RE: Plymale v. Miller, Civil Action No. 3:13-cr-14953
Samantha —

Although | disagree with your letter, it appears the issue you had regarding plaintiff's expert witness disclosure
is resolved. | have not seen any filing that withdraws the motion. As you are aware, | have limited time to file a response,
and the withdraw should be entered before then. Please let me know when | might expect that notice to be filed.

Also, given your expert witness disclosure and the incomplete opinions of your pathologist, | would like to
extend the rebuttal expert witness disclosure. First, when do you expect to supplement your pathologist’s opinions?
Secondly, are you willing to stipulate to extending the deadline?

Matthew C. Lindsay, J.D., M.D.
Tabor Lindsay & Associates
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From: Anne L. Honaker [mailto:ALH@farrell3.com]

Sent: Friday, April 04, 2014 2:44 PM

To: Matt Lindsay

Cc: Tammy J. White; Samantha Thomas-Bush; Susan McGlone; Valerie Scheidler; Anne L. Honaker
Subject: Plymale v. Miller, Civil Action No. 3:13-cr-14953

Good afternoon, Mr. Lindsay,

Attached please find correspondence from Samantha Thomas-Bush regarding the above referenced
matter.

Thank you and have a nice day.

Sincerely,
Anne Honaker

Anne L. Honaker

Legal Secretary To
Charlotte A. Hoffman Norris,
Samantha Thomas-Bush
and Alexander L. Turner
Farrell, White & Legg PLLC
914 Fifth Avenue
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CHARLO] EE A, HOFFMAN NORRIS tt avai Nt coo 21-9106
Riak W. LEGG April 8. 2014 ‘RIMIEAG (30d)
BERNAL S. VALIIUOS T 5
ALEXANDEI L. TUMNEK Via facsimile

MEGAN FARRELL WOODY ARD

FILL #: 1051,0001
SAMANTHA THOMAS-BUSH '

Matthew Lindsay, Esquire
Tabor Tindsay & Associates
P.O. Box 1269

Charleston, WV 25325
mlindsay@taborlindsay.com

Re: Dawn McComas, Executrix of the Estate of Billie Plymale
v. Kirt Thomas Miller, D.P.M.
United States District Court, Southern District of West Virginia
Civil Action No, 3:13-cr-14953

Dear Matt:

Lam in reccipt of your e-mail from this afternoon. First, a Norice of Withdrawal of the
Motion to Compel was filed earlicr today. You should have received notice of the same through
the ECF syslem by now.

Secondly, you request an indefinite extension of the rebuttal expert deudline, We cannot
agree to (hal. The fact that tissue palhology was taken during Dr. Miller’s surgery on the
decedent has been known to the plaintiff since the date of that procedure. Plaintiffs argwnent m
the Cornplaint, expert disclosure by Dr. Singer, and in deposition has been thal there was no
pathology evaluation of the resection tissue, The original tissue block has becn available to
plaintiff since the date of the original surgery.

Rebuttal is for new issues not known or discoverable by a party as of the time of expert
disclosure. There is no reason to extend the rebuttal period in this case.

Dr, Balko will review origmul tissue material to determine whether the recut slides
accuratcly rcflcct that which is apparent from rcvicw of the cntire specimen. A subpoena was
served today on the St. Mary’s pathology department at their request, and yur inlention is to have
the slides reviewed by Dr. Balko by April 25, 2014. Any supplemental opinion of Dr. Balko will

be provided shortly thereafler, as to thal which Dr. Ballo may ascertain from the original tissue
block.

TUNE LY

"Alan admiilied in Kentucky » 7 Alsm admitted in Obia
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FARRELL, WITITE & LEGG PLLC
Page 2

Matt Lindsay

Re: Dawn McComas, Executrix of the Extate of Billie Plypmale
y, Kirt Thomas Miller, D.P.M.
United Staten District Court, Southern District of West Virginia
Civil Action No. 3:13-cr-14953
April 8, 2014

Finally, 1’m not sure what you are referencing when you say you “disagree with my
Icticr,” so please advise if there is an unresolved issue from my correspondence of April 7, 2014.

Vény truly yours,

‘omus-Bush

ce: ‘Vamela J. Whitc, lisq. (via e-mail)

{MURR 725,71 |
